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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

 Paul Hansmeier,                                         Civ. No. 21-1979 (PAM/DTS)

                            Plaintiff,

 v.                                                                             ORDER

 Jeffrey Fikes, Officer
 Dawson, Officer Mortensen,
 and Michael Carvajal,

                            Defendants.


      This matter is before the Court on Plaintiff Paul Hansmeier’s Suggestion of

Mootness. (Docket No. 30.) According to Hansmeier, his requests for injunctive relief are

moot because Defendants have given Hansmeier the relief he sought.

      Accordingly, IT IS HEREBY ORDERED that Plaintiff’s Motions for Temporary

Restraining Orders (Docket Nos. 10, 19) are DENIED as moot.



Dated: Wednesday, November 17, 2021
                                                      s/ Paul A. Magnuson
                                                      Paul A. Magnuson
                                                      United States District Court Judge
